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United States District Court APR 2 1 2009
for the
Eastern District of Arkansas JAME CCORMACK CLERK
Petition for Summons for Offender Under Su erv '
; ;z »: ; is 1. j , DEP CLERK
Name of Offender: James Jaekson _ __ Case Number: 4:02CR00094-001 WRW `
ii i l cl . s
Name of Sentencing Judicial Officer }Honorable William R. Wilson, Jr
United States District Judge
Offense: Possession with intent to distribute more than 5 grams of cocaine base
Date of Sentence: November 21, 2002
Sentence: 84 months Bureau of Prisons, 4 years supervised release, mandatoiy drug

testing, substance abuse treatment, and $100 special penalty assessment

March 3, 2008: Sentence of imprisonment reduced to time served under 18
U.S.C. # 3582(0)(2), and immediately enter and complete residential
substance abuse treatment followed by chemical free living, all provisions of
judgment dated November 21, 2002, shall remain in effect

l\/Iarch 24, 2008: Revol<ed, 6 months Bureau of Prisons, 36 months
supervised release, mandatory drug testing, substance abuse treatment, and
$100 special penalty assessment

Type of Supervision: Supervised Release Date Supervision Cornmenced: Februaiy 6, 2009
Expiration Date: February 5, 2012

Asst. U.S. Attorney: John Ray White Defense Attorney: To be appointed

U.S. Probation Officer: Robert L. Gwin
Phone No.: 501-604-5270

 

PETITIONING THE COURT

The offender has Violated the following condition(s) of supervision:

Condition Nature of Noncompliance

 

 

General The defendant shall refrain from any unlawful use of a controlled substance.

On March 3, 2009, Mr. Jacl<son reported to the probation office and submitted a drug
screen which tested positive for marijuana He signed an admission of drug use form
acknowledging he smoked marijuana on February 24, 2009.

On March 6, 2009, Mr. Jackson reported to the probation office and submitted a drug
Screen Which tested positive for marijuana He signed an admission of drug use form
acknowledging he smoked marijuana on March l, 2009.

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Offender Under Supervision

Name of Offender: James Jackson Case Number: 4:02CR00094-001 WRW

On March 19, 2009, Mr. Jackson reported to the probation office and submitted a drug
screen which tested positive for cocaine. He signed an admission of drug use form
acknowledging he ingested cocaine on March 15, 2009.

Special The defendant shall participate, under the guidance and supervision of the U.S.
I’robation Office, in a substance abuse treatment program which may include
testing, outpatient counseling and/or residential treatment and abstain from the use
of alcohol throughout the course of any treatment.

Mr. Jackson failed to report for drugr testing on February 25, 2009, March 12 and 24,
2009, and April 7, 2009. Mr. Jackson failed to attend his scheduled group counseling
session on Mareh 3, 2009, and April 7; 2009.

2 The defendant shall report to the probation officer and shall submit a truthful and
complete written report within the first five days of each month.
l\/Ir. Jackson failed to submit a written monthly report for February and March 2009 as
required by the conditions of his supervision

3 The defendant shall answer truthfully all inquiries by the probation officer and
follow the instructions of the probation officer.
On March 19 and 24, 2009, Mr. Jackson Was instructed to attend the Offender
Employment Workshop at the United States Probation Office on March 25, 2009. He
failed to attend as instructed

On April 6, 2009, a horne visit was attempted at Mr. Jaekson's residence. A request was
left with Mr. Jackson's daughter for Mr. Jackson to contact his probation officer. Mr.
Jackson has failed to contact his probation officer as instructed

5 The defendant shall work regularly at a lawful occupation, unless excused by the
probation officer for schooling, training, or other acceptable reasons.
Mr. lackson has failed to find and maintain employment since being released to
supervised release on February 6, 2009.

lt is requested that a summons be issued and a revocation hearing held Mr. Jackson previously retained
Mark Alan Jesse as counsel. The CJA 23, financial affidavit, could not be completed as Mr. Jackson has
failed to report to the probation office as instructed The Government is represented by Assistant U.S.
Attorney John Ray White.

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Offender Under Supervision

Name of Offender: James Jackson Case Number: 4:02CR00094-001 WRW

l declare under penalty of perjury that the foregoing is true and correct.

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Roi) ert L. Gwin ohn Ray Whitd

U.S. Probation Officer Assistant U. S. Attor ney

Date: April 13, 2009 Date: OL/ /1\2 j OO\
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This form is to be filed with Criminal Docketing as a motion.
Approved:
Supervising U.S. Probation Officer

RLG/jkr
c: Assistant U.S. Attorney, John Ray White, P.O. Box 1229, Little Rock, AR 72203

